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                 UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF WEST VIRGINIA


CITY OF HUNTINGTON,
                                          Civil Action No. 3:17-cv-01362
                 Plaintiff,

v.

AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

                   Defendants.

CABELL COUNTY COMMISSION,                 Consolidated case:
                                          Civil Action No. 3:17-01665
                 Plaintiff,

v.                                        Hon. David A. Faber
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

                   Defendants.




           APPENDIX OF SEALED EXHIBITS IN SUPPORT OF
          PLAINTIFFS’ MOTION TO LIMIT THE TESTIMONY OF
             DEFENDANTS’ EXPERT TRICIA WRIGHT, M.D.
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Exhibit Number                          Description

No. 1 – FILED UNDER SEAL                Expert Report of Tricia Wright, MD
                                        (August 27, 2020)

No. 2 – FILED UNDER SEAL                Deposition Transcript of Tricia Wright,
                                        MD (September 14, 2020)



     RESPECTFULLY SUBMITTED this 6th day of October, 2020.


THE CITY OF HUNTINGTON                  CABELL COUNTY COMMISSION
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                           CERTIFICATE OF SERVICE

      I certify that on October 6, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system. This filing

will also be served on all parties by email to:

Track2OpioidDefendants@ReedSmith.com and CT2_Opioid_Team@mail-list.com.



                                                  /s/ JC Powell




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